Case 3:13-cv-01005-M Document 181 Filed 05/04/15   Page 1 of 16 PageID 4870



                     UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION

JOSEPH GRECO, JULES BRODSKY,          §
TODD J. CHRISTENSON, WILLIAM          §
DICKIE, et al.,                       §
                                      §
                Plaintiffs,           §
                                      §
VS.                                   §    C.A. No. 3:13-CV-1005-M
                                      §
JERRAL “JERRY” WAYNE JONES,           §
NATIONAL FOOTBALL LEAGUE,             §
DALLAS COWBOYS FOOTBALL CLUB,         §
LTD., JWJ CORPORATION, COWBOYS        §
STADIUM, L.P., COWBOYS STADIUM        §
GP, LLC, and BLUE & SILVER, INC.,     §
                                      §
                Defendants.           §



 DEFENDANT NATIONAL FOOTBALL LEAGUE’S OPPOSITION TO PLAINTIFFS’
                 MOTION TO STAY PROCEEDINGS
 Case 3:13-cv-01005-M Document 181 Filed 05/04/15                                               Page 2 of 16 PageID 4871



                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
FACTUAL BACKGROUND ......................................................................................................... 2
ARGUMENT .................................................................................................................................. 3
I. Plaintiffs’ Bare Speculation That Ibe May Be Reversed and That Such a Reversal Could
   Affect this Case Does Not Warrant a Stay of this Case. ........................................................... 6
II. Plaintiffs’ Request for a Stay Should Be Denied Because the Proposed Stay is for an
    Indefinite Period........................................................................................................................ 7
III. A Stay Would Not Serve Judicial Economy or the Interests of the Parties. ............................. 9
CONCLUSION ............................................................................................................................. 10




NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                                                            PAGE i
 Case 3:13-cv-01005-M Document 181 Filed 05/04/15                                            Page 3 of 16 PageID 4872



                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Federal Cases

Allison v. Citgo Petroleum Corp.,
    151 F.3d 402 (5th Cir. 1998) .....................................................................................................6

Am. Home Mortgage Servicing, Inc. v. Triad Guar. Ins. Corp.,
   714 F. Supp. 2d 648 (N.D. Tex. 2010) ......................................................................................7

Andrews v. United States,
   2007 WL 2315964 (E.D. Tex. Aug. 10, 2007) ................................................................4, 8, 10

In re ASARCO, LLC,
    2009 WL 1392627 (S.D. Tex. May 15, 2009) ...........................................................................5

Ball v. LeBlanc,
   2014 WL 231920 (M.D. La. Jan. 17, 2014)...............................................................................5

Bell v. Alltel Comm’cns, Inc.,
    2008 WL 4646146 (W.D. Pa. Oct. 17, 2008) ............................................................................4

Blair v. Equifax Check Servs., Inc.,
   181 F.3d 832 (7th Cir. 1999) .....................................................................................................5

Caruso v. Allstate Ins. Co.,
   2007 WL 625830 (E.D. La. Feb. 26, 2007) ...............................................................................4

David v. Signal Intern., LLC,
   37 F. Supp. 3d 836, 840 (E.D. La. 2014) ...................................................................................4

Dowkin v. City & Cnty. of Honolulu,
  2014 WL 4904952 (D. Haw. Sept. 30, 2014) ............................................................................4

Eastman Med. Products, Inc. v. E.R. Squibb & Sons, Inc.,
   199 F. Supp. 2d 590 (N.D. Tex. 2002) ......................................................................................7

Ferrell v. Wyeth-Ayerst Labs., Inc.,
   2005 WL 2709623 (S.D. Ohio Oct. 21, 2005) ...........................................................................4

Landis v. N. Am. Co.,
   299 U.S. 248 (1936) ...................................................................................................................4

M.D. v. Perry,
   2011 WL 7047039 (S.D. Tex. July 21, 2011) ............................................................................5




NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                                                       PAGE ii
 Case 3:13-cv-01005-M Document 181 Filed 05/04/15                                                 Page 4 of 16 PageID 4873



McCall v. Peters,
  2003 WL 22083507 (N.D. Tex. Feb. 18, 2003) ...................................................................8, 10

Miller Weisbrod, LLP v. Klein Frank, PC,
   2014 WL 2738231 (N.D. Tex. June 17, 2014) ..................................................................3, 4, 9

In re Mounce,
    2008 WL 2714423 (Bankr. W.D. Tex. July 10, 2008) ..............................................................5

In re Offshore Diving & Salvaging, Inc.,
    1999 WL 407545 (E.D. La. June 18, 1999) ...............................................................................4

Payne v. Universal Recovery, Inc.,
   2011 WL 7415414 (N.D. Tex. Dec. 7, 2011) ............................................................................4

Pollock v. Nat’l Football League,
   553 F. App’x 270 (3d Cir. 2014) ...............................................................................................7

Stull v. YTB Intern., Inc.,
    2010 WL 3613939 (S.D. Ill. Sept. 8, 2010) .......................................................................4, 8, 9

Trinity Indus., Inc. v. 188 L.L.C.,
    2002 WL 1315743 (N.D. Tex. June 13, 2002) ..........................................................................8

VirnetX Inc. v. Apple Inc.,
   2013 WL 7760959 (E.D. Tex. July 22, 2013) .......................................................................4, 8

Wedgeworth v. Fibreboard Corp.,
  706 F.2d 541 (5th Cir. 1983) .............................................................................................3, 7, 8

Wells Fargo Bank, N.A. v. W. Coast Life Ins. Co.,
   631 F. Supp. 2d 844 (N.D. Tex. 2009) ......................................................................................7

Federal Statutes

28 U.S.C. § 1292(b) .........................................................................................................................5

Rules

Rule 23 .................................................................................................................................1, 2, 5, 7




NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                                                              PAGE iii
 Case 3:13-cv-01005-M Document 181 Filed 05/04/15                  Page 5 of 16 PageID 4874



       Defendant National Football League (the “NFL”) files this Opposition to Plaintiffs’

Motion to Stay Proceedings Pending Resolution of the Appeal in the Related Ibe Matter (Dkt.

No. 177) (“Motion”) and respectfully shows as follows:

                                        INTRODUCTION

       For more than two years, Plaintiffs have insisted that this case must be litigated

separately from the Ibe case, that the Greco Plaintiffs were unbound and unaffected by the

Court’s legal rulings in Ibe, and that the Greco case should proceed to a first bellwether trial as

quickly as possible. Now, having lost the Ibe case, Plaintiffs’ counsel has reversed course and

seeks to halt the Greco case indefinitely based on their hope of overturning Ibe on appeal.

       Plaintiffs’ basis for requesting a stay, that the Fifth Circuit “could” reverse this Court’s

rulings in Ibe in a manner that could “potentially” affect this case, is nothing but bare speculation

that does not warrant a stay. Plaintiffs have not even attempted to show that this Court abused its

discretion by denying class certification or that its other pre-trial rulings in Ibe were erroneous.

Indeed, the Fifth Circuit has rarely overturned a denial of class certification in recent memory,

which no doubt explains the Ibe Plaintiffs’ choice not to exercise their right under Rule 23(f) to

seek an interlocutory appeal of the class certification opinion two years ago. Moreover, in a

substantially similar case brought by other allegedly displaced Super Bowl XLV ticketholders in

Pennsylvania, the Third Circuit has already affirmed the dismissal of all tort claims after ruling,

as this Court did, that claims based on the Super Bowl XLV ticket sound in contract.

       The likeliest outcome is that the Ibe appeal will have little or no impact on the current

posture of this case, and the Greco Plaintiffs’ individual claims will still need to be litigated.

Staying the case would only result in an indefinite delay, further deterioration of witness

memories, and inefficient use of the time and effort already invested in this case by the parties




NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                    PAGE 1
 Case 3:13-cv-01005-M Document 181 Filed 05/04/15                  Page 6 of 16 PageID 4875



and Court. The requested stay should be denied so this case can be moved towards resolution

rather than languishing indefinitely on this Court’s docket.

                                  FACTUAL BACKGROUND

        As the Court is aware, this case is one of two separate lawsuits filed by Plaintiffs’ counsel

concerning alleged temporary seating issues at the Super Bowl XLV game, which was played on

February 6, 2011.

        This suit, known as the Greco case, was filed in February 2013 on behalf of more than

200 individual plaintiffs. At the time these plaintiffs filed their own individual claims, the

plaintiffs in the first case – then known as the Simms case and now known as the Ibe case – were

seeking class certification and their motion for certification was pending.

        This Court denied class certification in the Ibe case on July 9, 2013. In a 39-page

opinion, this Court ruled that the four proposed classes failed to satisfy multiple requirements for

certification under Rule 23. The Ibe Plaintiffs chose not to exercise their right to seek immediate

interlocutory review of the class certification denial under Rule 23(f). Nor did any of the Greco

Plaintiffs intervene in the Ibe case for purposes of seeking to appeal the denial of class

certification.

        Plaintiffs and their counsel instead chose for nearly two years to vigorously and

separately litigate the individual claims of both the Ibe and Greco Plaintiffs.          The Greco

Plaintiffs successfully opposed consolidation with the Ibe lawsuit and argued the NFL was

improperly attempting to treat these “234 individual lawsuits” “as a pseudo-class action.” Dkt.

No. 48 at 17; Def. App. Ex. A at App. 2-5 (Transcript of 2/25/14 Scheduling Conference at 17-

19, 38). They successfully convinced this Court to permit them to take additional discovery in

Greco, on the grounds that while the lawyers in the two cases were the same, the plaintiffs were

different and the Greco plaintiffs were not bound by the discovery and legal rulings in Ibe. Def.


NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                    PAGE 2
 Case 3:13-cv-01005-M Document 181 Filed 05/04/15                  Page 7 of 16 PageID 4876



App. Ex. A at App. 6-11 (Transcript of 2/25/14 Scheduling Conference at 51-56). They insisted

on re-litigating the dismissal issues this Court had ruled on in Ibe, and opposed the NFL’s efforts

to streamline resolution of many of the claims in this case through a preliminary motion for

summary judgment based on this Court’s rulings in Ibe. See Dkt. Nos. 41, 42, 135.

       In the months leading up to the Ibe trial, the Greco Plaintiffs continued to press for an

aggressive schedule for litigating their individual claims. When the Court asked for Plaintiffs’

position on the trial schedule in Greco, Plaintiffs’ counsel responded that “[t]he first seat

availability trial in Grecco [sic] should proceed in April with the second trial immediately

thereafter” and “[i]n no event should the first Grecco [sic] trial be set well into the Summer or

beyond in light of the age of the case, etc.” Def. App. Ex. B at App. 13 (December 9, 2014 email

from Plaintiffs’ counsel).    Plaintiffs even went so far as to (wrongly) accuse the NFL of

“dragging its feet in the hopes that the bellwether trial setting will be delayed indefinitely.” Dkt.

No. 135 at 6.

       Now, having lost the Ibe case, Plaintiffs’ counsel seeks to stay the Greco case indefinitely

based on their bare speculation that they might be able to persuade the Fifth Circuit to reverse

some or all of the Court’s rulings from Ibe on appeal and that such rulings “could” have an effect

on the Greco case.

                                          ARGUMENT

       While this Court has authority to issue a stay pursuant to its inherent power to control its

docket, “such control is not unbounded.” Wedgeworth v. Fibreboard Corp., 706 F.2d 541, 545

(5th Cir. 1983). “[T]he Supreme Court has characterized the circumstances in which such a stay

is appropriate as ‘rare.’” Miller Weisbrod, LLP v. Klein Frank, PC, 2014 WL 2738231, at *2

(N.D. Tex. June 17, 2014) (quoting Landis v. N. Am. Co., 299 U.S. 248, 254 (1936)). The

“suppliant for a stay must make out a clear case of hardship or inequity in being required to go


NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                    PAGE 3
 Case 3:13-cv-01005-M Document 181 Filed 05/04/15                Page 8 of 16 PageID 4877



forward, if there is even a fair possibility that the stay for which he prays will work damage to

someone else.” Landis, 299 U.S. at 255. Courts in fact routinely deny requests to stay a case

based on an appeal in a related case. See, e.g., Miller Weisbrod, 2014 WL 2738231, at *1-6;

Payne v. Universal Recovery, Inc., 2011 WL 7415414, at *2 (N.D. Tex. Dec. 7, 2011), report

and recommendation adopted, 2012 WL 593483 (N.D. Tex. Feb. 17, 2012); VirnetX Inc. v.

Apple Inc., 2013 WL 7760959, at *3 (E.D. Tex. July 22, 2013); Andrews v. United States, 2007

WL 2315964, at *2 (E.D. Tex. Aug. 10, 2007); Caruso v. Allstate Ins. Co., 2007 WL 625830, at

*11 (E.D. La. Feb. 26, 2007); In re Offshore Diving & Salvaging, Inc., 1999 WL 407545, at *2

(E.D. La. June 18, 1999); Dowkin v. City & Cnty. of Honolulu, 2014 WL 4904952, at *7 (D.

Haw. Sept. 30, 2014); Stull v. YTB Intern., Inc., 2010 WL 3613939, at *1-3 (S.D. Ill. Sept. 8,

2010); Bell v. Alltel Comm’cns, Inc., 2008 WL 4646146, at *4 (W.D. Pa. Oct. 17, 2008); Ferrell

v. Wyeth-Ayerst Labs., Inc., 2005 WL 2709623, at *2 (S.D. Ohio Oct. 21, 2005).

       In determining whether to stay a case pending the outcome of an appeal in a separate

case, courts consider the likelihood that the appeal will be successful and whether it would

necessarily have an impact on the first case. In Miller Weisbrod, for example, Judge Boyle

rejected a request for stay based on a “speculative” claim that the judgment in a separate case

would be reversed on appeal and moot the key issue in the case. Miller Weisbrod, 2014 WL

2738231, at *1, 4. Other cases similarly consider the likelihood of an impact from appellate

rulings in the other case. David v. Signal Intern., LLC, 37 F. Supp. 3d 836, 840 (E.D. La. 2014)

(“The hardship and inconvenience that would result from a stay substantially outweighs any

benefit, especially in light of the fact that mandamus relief is unlikely to be granted.

Accordingly, the court will not issue a stay.” (footnotes omitted)); In re Offshore Diving &




NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                PAGE 4
    Case 3:13-cv-01005-M Document 181 Filed 05/04/15                          Page 9 of 16 PageID 4878



Salvaging, 1999 WL 407545, at *2 (“Because the ultimate result of the Stern litigation may do

nothing to resolve the issue on this appeal, granting a stay is not in the interest of justice”).

        In considering the likelihood of success in the appeal of another case, requests for stays

pursuant to the Court’s inherent power are like requests for other stays pending an interlocutory

appeal of the same case.1 When a party seeks interlocutory review of a class certification

decision under Rule 23(f) – which is functionally equivalent to what the Greco Plaintiffs are

seeking here – stays are “extremely rare.” M.D. v. Perry, 2011 WL 7047039, at *1 (S.D. Tex.

July 21, 2011); In re Mounce, 2008 WL 2714423, at *6 (Bankr. W.D. Tex. July 10, 2008).

Courts considering a request for such a stay apply a four-factor test looking at (i) the likelihood

of success on the merits; (ii) whether the movant has made a showing of irreparable injury if the

stay is not granted; (iii) harm to the other parties if a stay is granted; and (iv) the public interest.

Perry, 2011 WL 7047039, at *1 (quoting In re First South Sav. Ass’n, 820 F.2d 700, 704 (5th

Cir.1987)); In re Mounce, 2008 WL 2714423, at *1, 6; see also Blair v. Equifax Check Servs.,

Inc., 181 F.3d 832, 835 (7th Cir. 1999) (“a stay would depend on a demonstration that the

probability of error in the class certification decision is high enough that the costs of pressing

ahead in the district court exceed the costs of waiting”). These are also the factors used when

courts consider a stay pending interlocutory appeals under 28 U.S.C. § 1292(b). E.g., Ball v.

LeBlanc, 2014 WL 231920, at *1-3 (M.D. La. Jan. 17, 2014); In re ASARCO, LLC, 2009 WL

1392627, at *3 (S.D. Tex. May 15, 2009). Indeed, interlocutory appeals of merits decisions

cannot even occur unless there is a “substantial ground for difference of opinion” on a

controlling question of law. 28 U.S.C. § 1292(b).


1
    Plaintiffs imply in a footnote that courts only consider likelihood of success if the appeal is within the same
case, but not when the appeal is in a different case. That position is wrong and would make no sense. If the other
appeal is not shown to be likely to have a dispositive impact on the current case, there would be literally no reason
whatsoever for a stay.



NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                                   PAGE 5
Case 3:13-cv-01005-M Document 181 Filed 05/04/15                               Page 10 of 16 PageID 4879



I.       Plaintiffs’ Bare Speculation That Ibe May Be Reversed and That Such a Reversal
         Could Affect this Case Does Not Warrant a Stay of this Case.

         Plaintiffs’ argument that a “potential” reversal of this Court’s rulings in Ibe “could”

affect this case, Motion at 2, is purely speculative and does not justify a stay. Plaintiffs have not

even attempted to demonstrate a likelihood of success in the Ibe appeal. Nor have they shown

that “potential” success in the Ibe appeal would mean this case would not go forward. There is

no reason to believe that the Fifth Circuit is likely to reverse this Court’s rulings in Ibe.

Plaintiffs rely most heavily on their request that the Fifth Circuit “revisit” the denial of class

certification. Motion at 6. That will require Plaintiffs to show that this Court committed an

“abuse of discretion” in denying certification or applied the wrong legal standard. Allison v.

Citgo Petroleum Corp., 151 F.3d 402, 408 (5th Cir. 1998). Plaintiffs have provided no reason to

believe this Court’s class certification ruling was incorrect, much less an “abuse of discretion”

likely to be reversed under the deferential standard of review. To the contrary, the highly-

individualized nature of the trial evidence and verdict in Ibe only confirmed this Court’s

judgment that the case could not be tried on a class-wide basis.2

         Nor have Plaintiffs provided any reason to believe that the Fifth Circuit is likely to

reverse this Court’s rulings on the NFL’s dismissal and summary judgment motions. Those

rulings were based on straightforward readings of the plain language of the Super Bowl XLV

ticket contract and application of well-settled legal principles such as privity of contract and the

independent injury/economic loss rule. There is no reason to believe this Court got those issues

wrong. Indeed, in a separate case arising from Super Bowl XLV, the Third Circuit has already


2
     For example, some of the obstructed view plaintiffs (Fortune and Hoffman) won their breach of contract claim
while another (Young) voluntarily dismissed her claim with prejudice once it became clear that the NFL would be
permitted to introduce a photograph and video taken from an adjacent seat showing an unobstructed view of the
field. Similarly, the trial evidence related to the displaced and relocated plaintiffs focused almost entirely on their
individual experiences and damages.



NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                                     PAGE 6
Case 3:13-cv-01005-M Document 181 Filed 05/04/15                                Page 11 of 16 PageID 4880



affirmed dismissal of all tort claims asserted by displaced ticketholders, agreeing with this Court

that such claims sound only in contract. Pollock v. Nat’l Football League, 553 F. App’x 270,

270-71 (3d Cir. 2014).

         By far the most likely outcome is that the Fifth Circuit will affirm all of this Court’s

rulings in Ibe. Moreover, even if the Court indulges Plaintiffs’ conjecture that the Fifth Circuit

might reverse some part of the Ibe case, it is not at all clear that any such reversal would have

any impact on the Greco case. Contrary to Plaintiffs’ argument, a reversal of some or all of the

Court’s decision denying class certification in Ibe will not make the Greco case disappear.3 The

Greco Plaintiffs filed their individual claims before the class certification decision in Ibe, and

have continued to litigate their individual claims for nearly two years after class certification was

denied. If a ruling on class certification by the Fifth Circuit in Ibe was truly a show stopper for

the Greco case, as Plaintiffs now contend, Plaintiffs’ counsel would have sought an immediate

interlocutory appeal under Rule 23(f) after class certification was denied and a stay of the Greco

case at that point. Their choice not to do so speaks volumes.4

II.      Plaintiffs’ Request for a Stay Should Be Denied Because the Proposed Stay is for an
         Indefinite Period.

         Plaintiffs’ requested stay should also be denied because it is for an indefinite period of

time. The Fifth Circuit has made clear that “stay orders will be reversed when they are found to

be immoderate or of an indefinite duration.” Wedgeworth, 706 F.2d at 545. That is exactly what

Plaintiffs here are requesting. The Ibe appeal is in its infancy. It is impossible to predict with


3
     Plaintiffs cite three of this Court’s cases regarding the “first to file rule.” Motion at 7 n.5. None of those cases
has anything to do with class actions, class certification, or the interaction between individual claims and class
claims. See Am. Home Mortgage Servicing, Inc. v. Triad Guar. Ins. Corp., 714 F. Supp. 2d 648, 651-52 (N.D. Tex.
2010, Lynn, J.); Wells Fargo Bank, N.A. v. W. Coast Life Ins. Co., 631 F. Supp. 2d 844, 846 (N.D. Tex. 2009, Lynn,
J.); Eastman Med. Products, Inc. v. E.R. Squibb & Sons, Inc., 199 F. Supp. 2d 590, 594 (N.D. Tex. 2002, Lynn, J.).
4
     In addition, at least 45 of the Greco Plaintiffs were sitting in sections that were not included within the
definitions of the classes that the Ibe Plaintiffs attempted to certify.



NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                                       PAGE 7
Case 3:13-cv-01005-M Document 181 Filed 05/04/15                            Page 12 of 16 PageID 4881



any degree of certainty when the Fifth Circuit will rule, and it could easily be more than a year.

Such a long, open-ended stay is “immoderate” and “indefinite.”                      Id.    (“[T]he bankruptcy

proceedings are not likely to conclude in the immediate future. A stay hinged on completion of

those proceedings is manifestly ‘indefinite.’”); McCall v. Peters, 2003 WL 22083507, at *2

(N.D. Tex. Feb. 18, 2003) (“Plaintiff also fails to state the potential duration of the requested

stay. Thus, granting Plaintiff’s motion at this time would create a stay of indefinite duration.”);

Andrews, 2007 WL 2315964, at *2 (requested “stay would be immoderate and indefinite” where

“there is no guaranteed estimate of how long the appeal to the Texas Supreme Court will take”).5

        The indefinite nature of the requested stay and other timing issues make this a very

different case than Trinity, on which Plaintiffs heavily rely. Trinity involved a contract dispute.

Trinity Indus., Inc. v. 188 L.L.C., 2002 WL 1315743, at *1 (N.D. Tex. June 13, 2002). 188

L.L.C. sued Trinity in the Northern District of Illinois for breach of contract. Id. Trinity

successfully moved to dismiss, and 188 L.L.C. appealed the dismissal to the Seventh Circuit. Id.

While the appeal was pending before the Seventh Circuit, Trinity sued 188 L.L.C. in the

Northern District of Texas, filing essentially a counterclaim on the same contract. Id. Before

even filing an answer, 188 L.L.C. moved for a stay of the Texas case pending the Seventh

Circuit appeal. Id. By the time the court came to a decision on the motion to stay, the Seventh

Circuit had already heard argument, so the Seventh Circuit decision was imminent. See id. The

court therefore found “that this stay is by no means indefinite.” Id. at *3.

        The timing here is very different from the timing in Trinity. First, the party seeking a

stay in Trinity did so immediately after the second case was filed, before filing an answer. Id. at

5
     See also VirnetX Inc., 2013 WL 7760959, at *3 (“It is uncertain when the Federal Circuit will hear the appeal,
let alone decide the appeal. Therefore, it would be imprudent to delay this case based upon speculation about what
might happen.”); Stull, 2010 WL 3613939, at *3 (“[I]n the Court’s experience appeals often can take far longer to
resolve than ten or eleven months. The Court is not inclined to grant such an open-ended stay for so indefinite a
period.”).



NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                                 PAGE 8
 Case 3:13-cv-01005-M Document 181 Filed 05/04/15                  Page 13 of 16 PageID 4882



1. Here, in contrast, Plaintiffs actively litigated their individual claims for over two years before

seeking a stay. Second, the stay in Trinity was not “indefinite” because the Seventh Circuit

decision was imminent. Here, it will be a prolonged and indefinite amount of time before the

Fifth Circuit resolves the Ibe case. Trinity does not support staying this case, which has already

been separately litigated for two years, for an indefinite period of time while the Ibe case is on

appeal.

III.      A Stay Would Not Serve Judicial Economy or the Interests of the Parties.

          The interests of judicial economy and the parties further weigh against staying this case.

This case has been pending for more than two years and relates to events occurring more than

four years ago. The Court has already ruled on motions to dismiss, and the parties have devoted

substantial time and resources into discovery and pushing this case toward a first bellwether trial.

Most of the discovery in the first bellwether phase is complete and the NFL will soon be in a

position to file its motion for summary judgment. The issues are top-of-mind and ready for

prompt resolution. See Stull, 2010 WL 3613939, at *2-3 (denying stay where “the Court is

intimately familiar with the subject matter of this case and is well-situated to rule on issues

disputed between the parties with dispatch”). In addition, an important motion related to whether

Plaintiffs can recover attorneys’ fees is pending. These and other issues related to the individual

Plaintiffs’ claims will need to be resolved no matter what happens with the Ibe appeal. Miller

Weisbrod, 2014 WL 2738231, at *4 (“[T]his case has been pending for over a year and has been

substantially briefed such that it would likely promote judicial economy to proceed to a decision

on the merits. No matter the decision of the state appellate court, the parties’ dispute is properly

presented and will have to be decided eventually by this Court, and there is no reason why this

decision cannot be reached pursuant to the current deadlines set in the scheduling order.”

(citation omitted)).


NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                    PAGE 9
Case 3:13-cv-01005-M Document 181 Filed 05/04/15                   Page 14 of 16 PageID 4883



       Issuing the requested stay would be a major step backwards for everyone. A stay would

significantly delay the resolution of Plaintiffs’ claims, which are already four years old, and

impair the parties’ ability to present their cases because “[w]ith the passage of time, memories

fade and litigation costs increase.” McCall, 2003 WL 22083507, at *2; see also Andrews, 2007

WL 2315964, at *2 (“[i]mposing a potentially lengthy stay” would impair Defendants’ ability to

put forth a defense to Plaintiff’s claims, especially given the pending dispositive motions because

“as time passes, memories fade, witnesses move and costs increase”). Indeed, Plaintiffs’ counsel

previously acknowledged that this case should proceed forward expeditiously “in light of the age

of the case, etc.” Def. App. Ex. B at App. 13 (December 9, 2014 email from Plaintiffs’ counsel).

       It will likely be a year or more before the Ibe appeal is decided. If this case is stayed, no

progress will be made during that time. When the stay expires, the case will likely be back in the

same position it is now, except the issues and the evidence will be stale and the parties and the

Court will waste time and resources getting back up to speed. Only then would the Court begin

to address dispositive motions, set the first set of bellwether cases for trial, and begin to come up

with a plan on the claims of the approximately 160 Plaintiffs who are not part of the first

bellwether phase. Rather than staying this case indefinitely as Plaintiffs propose, the parties and

Court should press forward so this case can finally be brought to a resolution.

                                         CONCLUSION

       For the reasons set forth above, the NFL respectfully requests that this Court deny

Plaintiffs’ Motion to Stay Proceedings in its entirety and grant any and all additional relief to

which the NFL may be entitled.




NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                                   PAGE 10
Case 3:13-cv-01005-M Document 181 Filed 05/04/15     Page 15 of 16 PageID 4884




May 4, 2015                             By: /s/ R. Thaddeus Behrens
                                        George Bramblett, TBN 02867000
                                        george.bramblett@haynesboone.com
                                        R. Thaddeus Behrens, TBN 24029440
                                        thad.behrens@haynesboone.com
                                        Daniel H. Gold, TBN 24053230
                                        daniel.gold@haynesboone.com
                                        Scott Ewing, TBN 24065214
                                        scott.ewing@haynesboone.com
                                        HAYNES AND BOONE, LLP
                                        2323 Victory Avenue, Suite 700
                                        Dallas, Texas 75219
                                        (214) 651-5000
                                        (214) 651-5940 (Facsimile)

                                        ATTORNEYS FOR DEFENDANT
                                        NATIONAL FOOTBALL LEAGUE




NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                  PAGE 11
Case 3:13-cv-01005-M Document 181 Filed 05/04/15                Page 16 of 16 PageID 4885



                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing was served upon its filing via this Court’s CM/ECF

system on this 4th day of May, 2015 on the individuals listed below:



Christopher S. Ayres                            Michael J. Avenatti
AYRES LAW OFFICE, PC                            Ahmed I. Ibrahim
4350 Beltway Drive                              EAGAN AVENATTI, LLP
Addison, Texas 75001                            520 Newport Center Drive, Suite 1400
(972) 386-0091 (Facsimile)                      Newport Beach, CA 92660
                                                (949) 706-7050 (Facsimile)




                                                /s/ R. Thaddeus Behrens
                                                R. Thaddeus Behrens




NFL’S OPPOSITION TO PLAINTIFFS’ MOTION TO STAY PROCEEDINGS                             PAGE 12
